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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
JODI EASLEY,                                      )
                                                  )
                Plaintiff,                        )
        v.                                        )           No. 4:24-cv-01111-SEP
                                                  )
CANAM STEEL CORP., et al.,                        )
                                                  )
                Defendants.                       )
                                MEMORANDUM AND ORDER
        Before the Court is Plaintiff Jodi Easley’s Motion to Remand. Doc. [16]. After careful
review of the petition, Doc. [1-1], the notice of removal, Doc. [1], and the parties’ briefing, Docs.
[16], [17], [22], [23], the Court concludes that 28 U.S.C. § 1447(c) requires remand of this action
for the reasons set forth in several other cases asserting the same legal claims against the same
Defendants based on similar factual allegations. See Medders-Carpenter v. Canam Steel Corp.,
4:24-cv-0928-SRC, 2024 WL 4973400 (E.D. Mo. Dec. 4, 2024); Kline v. Canam Steel Corp.,
4:24-cv01420-SRC, 2024 WL 4973399 (E.D. Mo. Dec. 4, 2024); see also Borgmann v. Canam
Steel Corp., 4:24-cv-01423-CDP, Doc. [29] (E.D. Mo. Dec. 17, 2024).
        Accordingly,
        IT IS HEREBY ORDERED that Plaintiff’s Motion to Remand, Doc. [16], is
GRANTED.
        IT IS FURTHER ORDERED that this matter is REMANDED to the Circuit Court of
Franklin County, Missouri.
        IT IS FINALLY ORDERED that Defendants’ Joint Motion to Dismiss, Doc. [10], and
Plaintiff’s Motion to Stay, Doc. [18], are DENIED as moot in light of the Court’s lack of
jurisdiction.
        A separate Order of Remand will accompany this Memorandum and Order.
        Dated this 27th day of January, 2025.


                                                  SARAH E. PITLYK
                                                  UNITED STATES DISTRICT JUDGE
